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                     UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION

TEXAS ASSOCIATION FOR MONEY
SERVICES BUSINESSES (TAMSB); HIGH
VALUE, INC.; REYNOSA CASA DE
CAMBIO, INC.; NYDIA REGALADO d/b/a
BEST RATE EXCHANGE; MARIO
REGALADO          d/b/a     BORDER          Civil Case No. 5:25-cv-00344-FB
INTERNATIONAL SERVICES; LAREDO
INSURANCE SERVICES, LLC; E.MEX.
FINANCIAL SERVICES, INC.; R & C, INC.
d/b/a TEMEX MONEY EXCHANGE; SAN
ISIDRO MULTI SERVICES, INC.; CRIS
WIN INC. d/b/a BROWNSVILLE CASA DE
CAMBIO; ESPRO INVESTMENT LLC
d/b/a LONESTAR MONEY EXCHANGE;
and ARNOLDO GONZALEZ, Jr.,

     Plaintiffs,

v.

PAM BONDI, ATTORNEY GENERAL OF
THE UNITED STATES; SCOTT BESSENT,
SECRETARY OF THE TREASURY;
UNITED STATES DEPARTMENT OF THE
TREASURY;     ANDREA       GACKI,
DIRECTOR OF THE FINANCIAL CRIMES
ENFORCEMENT      NETWORK;     and
FINANCIAL CRIMES ENFORCEMENT
NETWORK,

     Defendants.


       PLAINTIFFS’ OPPOSED MOTION FOR ORDER TO SHOW CAUSE
                  REGARDING WITNESS RETALIATION
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                                        INTRODUCTION

       On May 12, 2025, Andres Payan, Jr., testified as a third-party witness in support of

Plaintiffs’ Motion for a Preliminary Injunction. Two days later, on May 14, 2025, the Internal

Revenue Service sent his business a notice that it was being audited for compliance with the very

financial surveillance laws that are the subject of this litigation. Given the suspicious timing,

Plaintiffs ask the Court to exercise its inherent authority to protect witnesses in its courtroom and

issue an order directing the government to show cause for this potential retaliation.

                                        BACKGROUND

       As the Court is aware, Plaintiffs in this case are challenging a “Geographic Targeting

Order” that requires Money Service Businesses in thirty zip codes along the border to file reports

(“Currency Transaction Reports”) for cash transactions over $200. The Court held a preliminary

injunction hearing on May 12, 2025. At that hearing, the Court heard testimony from multiple

third-party witnesses who are not members of the Texas Association for Money Services

Businesses, but who are still subject to the Geographic Targeting Order.

       One of those third-party witnesses was Andres Payan, Jr. See Tr. of PI Hearing (Doc. 57)

at 94–121. Andres runs Payan’s Fuel Center, Inc., a Money Services Business in El Paso that is

subject to the GTO, see id. at 95; because the business is not a member of the Association, it did

not benefit from the TRO entered by this Court and also will not benefit from the Court’s

preliminary injunction. At the hearing, Andres testified about the harm his business is suffering

because of the GTO—including the loss of customers (id. at 101), mounting paperwork burdens

(id. at 102), and the business’s ultimate suspension of cashing checks while catching up on the

required reports (id. at 103). The Court summarized Andres’ testimony in the Appendix to its

decision on the preliminary injunction, and the Court cited that Appendix in the decision itself.

See Doc. 59 at 22, 34, 38-39.


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        After the hearing, Andres received a notice from the Internal Revenue Service that his

business was being audited for compliance with federal financial surveillance laws—which

include the very GTO that is the subject of this litigation. See Exhibit A to Decl. of Andres Payan,

Jr. in Support of Motion for Order to Show Cause. The notice is for a “BSA examination,” meaning

a special kind of audit designed to “ensure your money services business complies with the Bank

Secrecy Act.” Id.; see also id. (“A BSA examination is not an income tax examination.”). As the

government has explained in its previous filings in this case, the GTO that is being challenged in

this case is part of the overarching Bank Secrecy Act regime. See Govt. Resp. to Mot. For

Preliminary Injunction (Doc. 31-2) at 2–3. 1 And the audit period extends through April 30, 2025,

see Exhibit A, meaning that it covers a period of several weeks after the GTO’s April 14 effective

date. In other words, after testifying in this litigation, Andres received notice that his business was

being audited for compliance with the very financial surveillance rule that is at issue in this

litigation.2

        The audit notice is dated May 14, 2025—just two days after Andres testified. See Exhibit

A. The notice warns that “you may be liable for penalties for failure to comply with the BSA.” Id.

                                           ARGUMENT

        The Court has inherent power to protect witnesses in its courtroom from retaliation. See,

e.g., United States v. Vasilakos, 508 F.3d 401, 411 (6th Cir. 2007) (“A federal court’s authority to

protect the integrity of its proceedings encompasses the authority to take reasonable actions to

avoid intimidation or coercion of witnesses.”); Tyner v. Cain, No. 3:22-CV-257-KHJ-BWR, 2024


    1
      The notice states that the audit will focus on “the BSA provisions of Title 31 of the United
States Code.” The GTO at issue in this case was issued under 31 U.S.C. § 5326(a), which is located
in the portion of Title 31 of the United States Code where the BSA has been codified.
    2
      The IRS is not itself a party to this litigation, but it is a component of the Department of the
Treasury—which is a named defendant in this case—and is ultimately overseen by the Secretary
of the Treasury—who is also a named defendant in this case.


                                                  2
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WL 578775, at *3 (S.D. Miss. Feb. 13, 2024) (court can issue orders to grant witnesses “protection

from reprisal for participation in this litigation”). The Court also has inherent authority to sanction

parties for conduct that abuses the litigation process. See Carroll v. Jaques Admiralty L. Firm,

P.C., 110 F.3d 290, 292 (5th Cir. 1997) (“When a party’s deplorable conduct is not effectively

sanctionable pursuant to an existing rule or statute, it is appropriate for a district court to rely on

its inherent power to impose sanctions.”). That includes authority to sanction parties for retaliation

against witnesses in the litigation. See, e.g., Harvard v. Inch, No. 4:19CV212-MW/MAF, 2021

WL 12133089, at *4 (N.D. Fla. Apr. 7, 2021) (“Common sense dictates that this Court has the

power to sanction parties for intimidating witnesses to protect its own integrity and to ensure the

orderly disposition of a case.”). 3

        The Court also has inherent authority to investigate potential misconduct in this litigation

by issuing an order to show cause. See, e.g., Butler v. Collins, No. 3:18-CV-00037-E, 2022 WL

22890825, at *9 (N.D. Tex. Dec. 2, 2022) (directing party to appear for show cause hearing so that

Court could investigate potential misconduct); Hernandez v. State Farm Lloyds, No. DR-15-CV-

92-AM, 2017 WL 5163366, at *2 (W.D. Tex. Aug. 17, 2017) (noting that court issued sanctions

after holding two show cause hearings).

        Here, the Court should exercise its inherent authority to direct the government to explain

the timing of the audit notice received by Andres Payan, Jr. In recent years, numerous individuals




    3
     As the U.S. District Court for the Northern District of Florida explained: “For example, in a
negligence case, if a defendant threatens an eyewitness with bodily harm, a court has the authority
to sanction the defendant. If it did not, then the court could not possibly ensure an orderly
disposition of a case … . The same logic applies here. If Plaintiffs can show that Defendants’
employees are retaliating or threatening to retaliate against inmates who are participating in this
lawsuit, either as potential fact witnesses or potential class members, they may be entitled to
sanctions against Defendants under this Court’s inherent authority.” 2021 WL 12133089, at *4.


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and organizations have raised concerns about retaliatory use of IRS audit procedures. 4 These

concerns are only heightened by recent statements from the executive branch explicitly threatening

retaliation against lawyers and others involved in the judicial system. See, e.g., Perkins Coie LLP

v. U.S. Dept. of Justice, -- F. Supp. 3d --, 2025 WL 1276857, at *3 (D.D.C. May 2, 2025) (“Using

the powers of the federal government to target lawyers for their representation of clients . . . is

contrary to the Constitution. . . .That, however, is exactly what is happening here.”). Against that

backdrop, it is perhaps conceivable that the selection of Andres’s business is a coincidence. But,

at the very least, the timing raises serious and troubling questions about potential misuse of IRS

audit procedures to interfere with proceedings in this Court. 5 As an initial step, the Court should

exercise its inherent power to require the government to explain why it decided to audit a witness

under the very law that the witness had testified against two days earlier.

                              CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule 7(g), Plaintiffs certify that they have conferred with counsel for the

government concerning this Motion and the government states that it is opposed.

                                          CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court issue an order

directing the government to show cause for this potential retaliation.




   4
      See, e.g., Michael S. Schmidt, Comey and McCabe, Who Infuriated Trump, Both Faced
Intensive I.R.S. Audits, N.Y. Times (July 6, 2022); Cybele Mayes-Osterman, Pete Hegseth accuses
Biden, IRS of politically motivated move to rush tax audit, USA Today (Feb. 18, 2025).
    5
      At the hearing, while multiple witnesses testified that they are regularly audited by Texas
authorities, witnesses indicated that IRS audits are less regular. See, e.g., Tr. of PI Hearing at 54–
55 (“So for the Texas Department of Banking … that would be less than 12 months, maybe even
about six months or so. … IRS, it’s a little bit further out. There’s no—I really don’t know their
schedule.”). Andres’ business was last audited by the IRS in 2019. See Decl. of Andres Payan, Jr.
in Support of Motion for Order to Show Cause ¶ 11.


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Dated: May 23, 2025                                  Respectfully submitted,

                                                     /s/ Robert E. Johnson
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                                                     and High Value, Inc.




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                               CERTIFICATE OF SERVICE

       I certify that on May 23, 2025, I caused the foregoing document to be electronically filed

with the Clerk of Court using the CM/ECF system, which will provide electronic service upon all

attorneys of record.

                                                   /s/ Robert E. Johnson




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